                  Case 1:09-cr-03366-WJ Document 309 Filed 03/07/19 Page 1 of 1




                                       CLERK’S MINUTE SHEET
                           IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW MEXICO (AT ALBUQUERQUE)

                                    Before the Honorable Jerry H. Ritter

                                             Initial Appearance

Case Number:        09-3366 WJ                        UNITED STATES vs. Chavez

Hearing Date:       3/7/2019                          Time In and Out:        10:27 am -10:31 am

Clerk:              C. Lopez                          Courtroom:              Rio Grande

Defendant:          Derek Chavez                      Defendant’s Counsel:    Martin Lopez III

AUSA                John Anderson                     Pretrial/Probation:     Erick Newton

Interpreter:
Initial Appearance
☐       Defendant sworn

☒       Defendant received a copy of charging document

☒       Court advises defendant(s) of possible penalties and all constitutional rights

☒       Defendant currently has Court appointed counsel

☐       Government moves to detain                     ☒   Government does not recommend detention

☐       Set for                                       on                           @
Preliminary/Show Cause/Identity
☐       Defendant

☐       Court finds probable cause                     ☐   Court does not find probable cause
Custody Status
☐       Defendant waives detention hearing

☐       Defendant
        Conditions of release previously imposed
☒
        remain in effect
Other
☐       Matter referred to District Judge for final revocation hearing

☐
